 

Case 5:19-cv-00017-SLP Documenti-1 Filed O1/08/E2 PAG YZ/ f

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a il IN THE DISTRICT COURT OF OKLAHOMA COUNTY
: STATE OF OKLAHOMA
MANAF CHEHABI, )
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vs Case No OKLAHO MA COUSSURT
CONTINENTAL CASUALTY CO., )
PATRIOT EQUIPMENT LTD, and ) AUG 14 2018
ENRIQUEZ CHAPA, )
RICK WARREN
)
Defendants. ) pO URE TERK

PETITION
COMES NOW the Plaintiff Manaf Chehabi and for his cause of action against the
Defendants Continental Casualty Co., Patriot Equipment LTD, and Enriquez Chapa alleges and
states as follows:

1. On or about October 5, 2016, in Oklahoma City, Oklahoma, Oklahoma County, the
Defendants, through their agents and/or employees, negligently operated their semi-truck
in such a manner so as to cause a collision between their semi-truck and that of a vehicle
in which Plaintiff was a passenger.

2. That at all relevant times herein, Defendant Enriquez Chapa was working under his scope
and duty of employment with Defendant Patriot Equipment LTD.

3. That Defendant Patriot Equipment LTD is responsible for the negligent actions of its
employee Defendant Enriquez Chapa under the theory of respondeat superior.

4. Plaintiff pleads that, in the alternative, if Defendant Enriquez Chapa was not acting under
his scope and duty of employment, that he was negligent in causing a collision between

the semi-truck he was driving and with a vehicle in which Plaintiff was a passenger.

 
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5. That Defendant Continental Casualty Co. was the insurance carrier for Defendant Patriot

Equipment LTD and Defendant Enriquez Chapa and is therefore a necessary named party

to this claim pursuant to 47 O.S. § 169.1; Boyles v. Oklahoma Natural Gas. Co., 619 P.2d

613; Denco Bus Lines v. Hargis, 229 P.2d 339, and; Daigle v. Hamilton, 782 P.2d 1379.

6. That as a result, the Defendants, through their agents and/or employees, are liable to the

Plaintiff for damages suffered as follows:

A. Medical expenses incurred and expected to be incurred in the future.

B. Pain and suffering, past and future.
C. Lost Wages;

D. Disfigurement; and

E. Other damages to be set forth after discovery; all of which are in excess of the

amount required for diversity jurisdiction pursuant to 28 U.S.C 81332.

WHEREFORE, Plaintiff prays for judgment against the Defendants as set forth above with

his costs, interest and other such relief the Court shall deem proper.

Attorney’s Lien Claimed

RESPECTFULLY SUBMITTED,

WEST ¢ YLLA ¢ GOSNEY

    

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